FORM ntrnscpt (revised 12/1/09)

                                  UNITED STATES BANKRUPTCY COURT
                                            District of Arizona

                                   NOTICE OF FILING TRANSCRIPT



CASE NAME:                 12 UNIVERSITY, LLC

CASE NUMBER/ADVERSARY NUMBER: 4:20−bk−11567−BMW




Notice is hereby given that an official transcript of a court proceeding conducted on 3/9/2022 has been filed this date
in the above−captioned matter. In accordance with the attached information Re: Judicial Conference Privacy Policy
and Electronic Availability of Transcripts of Court Proceedings, the parties have seven days from the date of this
notice to file with the court a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the
transcript may be made remotely, electronically available to the public without redaction after 90 days.




Any party needing a copy of the transcript to review for redaction purposes may purchase a copy from the court
reporter/transcriber or view the document at the clerk's office public terminal.




Date: October 5, 2022

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
38 S. Scott Avenue                                           George Prentice
Tucson, AZ 85701−1704
Telephone number: (520) 202−7500
www.azb.uscourts.gov




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                             JUDICIAL CONFERENCE PRIVACY POLICY
                      and ELECTRONIC AVAILABILITY OF TRANSCRIPTS
                                          OF COURT PROCEEDINGS



This court provides public access to transcripts of court proceedings. In doing so, it follows the Judicial Conference
Privacy Policy as revised March 2008, before making official transcripts electronically available to the public. The
policy will apply to all transcripts of proceedings or parts of proceedings ordered on or after August 1, 2007,
regardless of when the proceeding took place. The complete Judicial Conference Privacy Policy may be reviewed at
the court's web site, www.azb.uscourts.gov.


The policy establishes a procedure for counsel and pro se parties to request the redaction from the transcript of
specific personal data identifiers before the transcript is made electronically available to the general public. A party
must file a notice of intent to request redaction within seven days of the filing of the official transcript by the court
reporter/transcriber. If a party fails to request redaction within this time frame, the transcript may be made
electronically available without redaction. A copy of the officially filed transcript will be available for review at the
clerk's office during this seven day period or may be purchased from the transcription service.


If a party files a redaction notice, the transcript is not to be made remotely electronically available to the general
public until the redactions are performed. A copy of the officially filed transcript will be available for review at the
clerk's office or may be purchased from the transcription service during this time. Within 21 days from the filing of
the transcript with the clerk, or longer if ordered by the court, the parties must submit to the court reporter/transcriber
a statement indicating where the personal identifiers appear in the transcript by page and line and how they are to be
redacted. For example, if a party wanted to redact the Social Security number 123−45−6789 appearing on page 12,
line 9 of the transcript, the statement would read: "Redact the Social Security number on page 12, line 9 to read
xxx−xx−6789." Parties are only responsible for reviewing and indicating the redactions in the testimony of the
witnesses they called and their own statements (e.g. opening statements and closing arguments). Only the following
personal identifiers listed in the Judicial Conference Privacy Policy may be redacted by this process.


                Social Security Numbers
                Financial Account Numbers
                Dates of Birth
                Names of Minor Children


If a party wants to redact other information, that party should move the court for further redaction by separate motion
served on all parties and the court reporter/transcriber within the 21 day period.


If request for redaction is filed, the redacted transcript is due 31 days from the date the transcript was filed which is
also the date of this notice.




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